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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER

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 ATTORNEY(S) FOR:

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:     2:18-cv-6091
   Pretty in Plastic, Inc.
                                                              Plaintiff(s),
                                     v.

                                                                                               CERTIFICATION AND NOTICE
   Maryellis Bunn, 1AND8, Inc.                                                                   OF INTERESTED PARTIES
                                                             Defendant(s)                            (Local Rule 7.1-1)

TO:       THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                               Pretty in Plastic, Inc.
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                                PARTY                                                  CONNECTION / INTEREST




      Pretty in Plastic, Inc.                                                                Plaintiff

      Maryellis Bunn                                                                         Defendant

      1AND8, Inc.                                                                            Defendant




          Date                                             Signature


                                                           Attorney of record for (or name of party appearing in pro per):




CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
